
Upon consideration of the petition filed by Defendant on the 6th day of September 2005 in this matter for a writ of certiorari to review the order of the Superior Court, Onslow County, the following order was entered and is hereby certified to the Superior Court of that County:
"Denied by order of the Court in conference, this the 17th day of August 2006."
Upon consideration of the petition filed on the 6th day of September 2005 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 17th day of August 2006."
Justice TIMMONS-GOODSON recused.
